Case 6:17-cv-02206-CEM-GJK Document 321 Filed 08/20/21 Page 1 of 16 PageID 8800




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

 NUVASIVE, INC.                    )
                                   )
            Plaintiff,             )
                                   )
 v.                                ) Civil Case No.
                                   ) 6:17-cv-2206-Orl-41GJK
                                   )
 ABSOLUTE MEDICAL, LLC,            )
 ABSOLUTE MEDICAL SYSTEMS,         )
 LLC, GREG SOUFLERIS, DAVE         )
 HAWLEY, and RYAN MILLER           )
                                   )
            Defendants.            )
  ________________________________ )

  NUVASIVE, INC.’S RESPONSE IN OPPOSITION TO TO DEFENDANTS’
                      MOTION TO EXCLUDE

          By and through its counsel of record, NuVasive, Inc. (“NuVasive”), responds

 in opposition to Defendants’ Motion to Exclude (“Motion”) (Doc. 309) by stating:

                               I.    INTRODUCTION

          Defendants’ Motion improperly seeks to exclude the testimony of NuVasive’s

 damages expert because they disagree with certain assumptions she makes and the

 conclusions she reaches. These criticisms, valid or invalid, do not afford Defendants

 any relief pursuant to Daubert and its progeny. Even Defendant’s rebuttal witness

 concedes Decker’s methodology is reliable. And her testimony satisfies Daubert’s




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Case 6:17-cv-02206-CEM-GJK Document 321 Filed 08/20/21 Page 2 of 16 PageID 8801




 requirement that it be helpful to the trier of fact in calculating the damages NuVasive

 incurred due to the Defendants’ wrongful acts.

                     II.    STATEMENT OF RELEVANT FACTS

        On December 16, 2019, NuVasive disclosed Misty Decker, CPA, ABV, CRE,

 CGMA, CFF, CLP (“Decker”) as its expert witness in this litigation pursuant to

 Federal Rule of Civil Procedure 26(a)(2).                NuVasive’s disclosure contained

 Decker’s written report and all of the information required by Federal Rule of Civil

 Procedure 26(a)(2)(B) (the “Decker Report”). Decker gave her deposition in this

 proceedings on September 16, 2020. As she testified she would in her deposition,

 Decker supplemented her report on August 9, 2021 (the “Decker Supplement”),

 which NuVasive provided to opposing counsel that day.1 (Decker Supplement,

 attached as Exhibit 1).

     A. Decker’s Deposition Testimony & The Decker Supplement.

        Decker opened her deposition, after initial formalities, by confirming that she

 intended to update the Decker Report as the parties approached a trial in this matter.

 (Dep. Decker, attached as Exhibit 3, 7:11–22). Then as, to the data she utilizes in



 1
   NuVasive’s counsel informed Defendants’ counsel, via email, on Friday, March 19, 2021, that
 the Decker Supplement was forthcoming. As the Court continued the trial of this matter from April
 12, 2021, to November 29, 2021 during the March 25, 2021, telephonic status conference (Doc.
 286), the Decker Supplement was tabled to coincide with the rescheduled trial date so as to include
 data that is as up to date as possible. The parties have agreed to complete Decker’s deposition
 about her updated conclusions in September 2021. (McFarland email thread with Busch, attached
 as Exhibit 2).

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Case 6:17-cv-02206-CEM-GJK Document 321 Filed 08/20/21 Page 3 of 16 PageID 8802




 forming her opinions, Decker testified that it is incumbent on her to use the “best

 record of evidence” and, in doing so, she utilized the three-year historical sales data

 associated with the Defendants, “which is customary . . . in our industry” when

 undertaking a lost profits analysis. (Id. at 20:10–22:15).2 Indeed, throughout her

 testimony, Decker reiterated that utilizing NuVasive’s historical sales data is

 appropriate in calculating the lost profits that would have inured to NuVasive, “but

 for” the wrongful acts of Defendants. (See id. at 24:25–25:24). Decker may have

 corroborated her analysis with Defendants’ post-NuVasive sales figures had

 Defendants provided complete and reliable data—which they did not—but it is not

 necessary for Decker’s analysis. (Id. at 24:25–26:6).

        Analyzing Defendants’ three-year historical trend is “normal and expected”

 in Decker’s industry. (Id. at 49:7–51:25). This three-year historical trend reflected

 overall positive sales growth prior to Defendants’ departure from NuVasive. (Id. at

 49:14–25). Further, contrary to Defendants’ contention, Decker investigated the

 one-year decline in Hawley’s NuVasive’s sales and, as noted on page 7 of the Decker

 Report and pages 13-14 of the Decker Supplement, reasonably concluded that




 2
   In the context of lost profits accruing from Hawley’s bad acts, Decker explained, specifically
 how this historical data is reliable and appropriate in her industry because he was selling “the same
 types of products, the same types of surgeries, the same doctors in the same hospitals he was doing
 before with NuVasive, he’s now doing with Alphatec and other suppliers.” (Exhibit 3, 23:14–18).



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Case 6:17-cv-02206-CEM-GJK Document 321 Filed 08/20/21 Page 4 of 16 PageID 8803




 decline would not continue. (Id. at 52:1–53:20, Ex. 9 at p. 7; Exhibit 1, pp. 13-14).3

 Respectfully, the Decker Report and the Decker Supplement itemize the extensive

 information Decker relied upon and considered in formulating her opinions in this

 case, and defeat any claim that (as Defendant’s allege) Decker “blindly” accepted

 NuVasive’s opinions. (Exhibit 3, Ex. 9 at Ex. C; Exhibit 1 at Ex. C). To the

 contrary, they establish that Decker specifically investigated and considered

 alternative causal factors and risks such as increased competition, introduction of

 new products in the market, attrition rate of surgeons, and patient demand. (Exhibit

 3, 46:4–47:7; Exhibit 1, pp. 13-14). Indeed, at every opportunity, Decker supported

 her opinions by the “totality” of the “documentary” evidence she reviewed. (Id. at

 19:9–15, 39:8–17, 54:24–56:8, 57:24–58:9, 62:19–64:10, 65:2–66:1, 68:2–15,

 71:10–20, 83:4–14).

     B. Paul Dopp’s Testimony.

        While he disagrees with Decker’s conclusions, Defendants’ proffered rebuttal

 witness, Paul D. Dopp (“Dopp”), concedes that Decker’s testimony is admissible.

 Critically, Dopp testified that Decker’s methodology is acceptable, she performed it

 appropriately, and that lost profits are the correct measure of damages. (Exhibit 4,




 3
  In fact, Defendants’ proffered rebuttal expert conceded in his deposition that Decker’s analysis
 on this issue may be appropriate if you agree with the assumptions she made in performing that
 analysis. (Dep. Dopp, attached as Exhibit 4, 80:19–81:7). He also testified that utilizing only one
 year when calculating trends is not appropriate. (Id. at 75:12–76:9).

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Case 6:17-cv-02206-CEM-GJK Document 321 Filed 08/20/21 Page 5 of 16 PageID 8804




 90:24–91:13). The issue Dopp takes with Decker’s analysis is in the assumptions

 she makes, not her methodology itself.4             (Id.)   These criticisms arise almost

 exclusively out of the fact that her projected loss revenues exceed Defendants’ actual

 sales of Alphatec’s competitive products. The fatal flaw in this critique is that Dopp

 admits that if Defendants sold products in addition to Alphatec’s (as they did but he

 did not consider) it would affect his entire analysis. (Id. at 63:6—15).5 Regardless,

 the proper venue to test these criticisms is upon cross-examination.

     C. Defendants’ Failure To Produce Requested Information.

          Defendants also erroneously claim that Decker rejected the rudimentary

 Alphatec sales figures Dopp relied upon. (See e.g., Dep. Decker, Exhibit 3, 31:7–

 32:4; Defs.’ Mot., Doc. 309, p. 8 (“Decker . . . ignores the available actual sales data

 in its entirety. . .”)). First, this flatly misstates Decker’s testimony in that she could

 consider Defendants’ actual post-resignation sales data if that data was complete,

 but since it was woefully inadequate, NuVasive’s historical sales data remains the

 best evidence on which to conduct her analysis. (Dep. Decker, Exhibit 3, 82:19–

 83:3).     However, even ignoring Defendants’ mischaracterization of Decker’s

 testimony, their position must be rejected because NuVasive requested complete


 4
   Indeed, Dopp disagreed with specific assumptions of Decker on multiple occasions in his
 deposition. (E.g., Exhibit 4, 70:3–21, 75:21–76:9).
 5
   Dopp further testified that actual post-departure sales numbers are only relevant—contrary to
 Defendants’ arguments—when a defendant transfers all of his or her sales from the plaintiff to a
 single new entity, which is not the case sub judice. (Exhibit 4, 63:6–15).

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Case 6:17-cv-02206-CEM-GJK Document 321 Filed 08/20/21 Page 6 of 16 PageID 8805




 sales data (including records of all competitive sales they made) from the Defendants

 who refused to provide it:

             On August 6, 2018, NuVasive asked Absolute Medical Systems to
              identify all (i) medical device or biologic companies it represents; (ii)
              entities, that paid it financial compensation; (iii) its customers including
              the products provided to those customers; and (iv) its sales;

             On September 20, 2018, Absolute Medical Systems objected to each of
              these interrogatories refusing to provide any responsive information
              (AMS’ Resp. Interrog., attached as Exhibit 5, ¶¶ 2, 4, 7, 10);6

             NuVasive requested Absolute Medical Systems produce all “Bill
              Sheets” or other requests for payment related to Alphatec, NovaBone,
              Osseus Fusion Systems, LLC, Orthofix, Inc., and K2M, Inc. on
              December 27, 2018; and

             Absolute Medical Systems responded on March 1, 2019, stating that it
              “has no documents in response to this request” (AMS’ Resp. 2d Req.
              Prod., attached as Exhibit 6, ¶ 2).

 Since Defendants failed to produce the requested information, NuVasive was forced

 to seek that information and documents via third-party subpoenas. Recently, on July

 30, 2021, NuVasive via a subpoena duces tecum NuVasive served on Surg.io LLC

 (“Surg.io”)7 in March 2019, received, without limitation, 4,292 pages of Absolute

 Medical Systems “Bill Sheets” for all of its sales representatives, including


 6
   This Court later compelled Absolute Medical Systems to supplement these responses, but
 documents later produced by non-parties reveal this supplementation was incomplete.
 7
   Surg.io provides services to distributors like Absolute Medical/Absolute Medical Systems to
 track all of their sales in minute detail including, surgery date, surgeon, sales representative,
 surgical procedure, product manufacturer, and itemized revenue from each sale. This is the
 program that Absolute Medical Systems’ administrator testified Defendants were utilizing “in
 order to streamline [their] processes.” (Doc. 260-3, 124:21–25, 127:13–24, Ex. 28; Doc. 260, 12).


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Case 6:17-cv-02206-CEM-GJK Document 321 Filed 08/20/21 Page 7 of 16 PageID 8806




 Soufleris, Hawley, and Miller. NuVasive attaches a representative sample of these

 Absolute Medical Systems Bill Sheets as Exhibit 7. As a result of this production,

 the Decker Supplement explains how the Surg.io data (that Defendants failed to

 produce) corroborates the historical data on which she relies. (Exhibit 1, pp. 22-

 23). Even Dopp conceded at his September 16, 2020, deposition that Defendants

 would “typically” be in possession of the data contained in the Surg.io Bill Sheets

 and be able to produce it upon request. (Exhibit 4, 63:21–64:14). Defendants failed

 to produce any of these documents, and they cannot now complain that the

 information available to Decker was incomplete.8

                             III.   LAW AND ARGUMENT

        Defendants’ argument to exclude Decker’s opinions should be rejected—and

 the Motion denied—because her methodology is sound, reliable, and she performed

 it accurately (as Dopp concedes). Likewise, Decker’s opinions will assist the fact

 finder in calculating any damages to which NuVasive is entitled.

     A. Daubert Motions Under Federal Rule Of Evidence 702.

        Federal Rule of Evidence 702 provides that “a witness who is qualified as an

 expert by knowledge, skill, experience, training, or education may testify in the form

 of an opinion or otherwise if: (a) the expert’s scientific, technical, or other


 8
   NuVasive notes that its counsel objected to lines of questioning related to this missing sales
 information at Decker’s deposition because NuVasive requested it from Defendants who failed to
 provide it. (Dep. M. Decker, Exhibit 3, 31:16–23, 38:20–25).

                                                7
Case 6:17-cv-02206-CEM-GJK Document 321 Filed 08/20/21 Page 8 of 16 PageID 8807




 specialized knowledge will help the trier of fact to understand the evidence or to

 determine a fact in issue; (b) the testimony is based on sufficient facts or data; (c)

 the testimony is the product of reliable principles and methods; and (d) the expert

 has reliably applied the principles and methods to the facts of the case.” Fed. R.

 Evid. 702.

       “[T]he Federal Rules of Evidence ‘assign to the trial judge the task of ensuring

 that an expert’s testimony both rests on a reliable foundation and is relevant to the

 task at hand.’” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 141 (1999) (quoting

 Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 597 (1993)). Pursuant

 to Daubert, “the determination of admissibility is ‘uniquely entrusted to the district

 court,’ which is given ‘considerable leeway in the execution of its duty.’” Int’l Iron,

 LLC v. Kubota Tractor Corp., No. 6:18-cv-2086-Orl-41LRH, 2021 U.S. Dist.

 LEXIS 13618, at *3 (M.D. Fla. Jan. 11, 2021) (quoting Rink v. Cheminova, Inc., 400

 F.3d 1286, 1291 (11th Cir. 2005). The party putting forth the expert must establish

 his or her admissibility by a preponderance of the evidence. Id. at *3-4 (citing

 Allison v. McGhan Med. Corp., 184 F.3d 1300, 1306 (11th Cir. 1998)). The

 Eleventh Circuit “distilled” this test for admissibility of an expert into three

 elements: (1) is the expert qualified; (2) is his or her methodology reliable; and (3)

 will his or her testimony assist the trier of fact.” Id. at *4 (citing City of Tuscaloosa

 v. Harcros Chems., Inc., 158 F.3d 548, 562 (11th Cir. 1998)). These are often



                                            8
Case 6:17-cv-02206-CEM-GJK Document 321 Filed 08/20/21 Page 9 of 16 PageID 8808




 referred to as the qualification, reliability, and helpfulness requirements of a Daubert

 analysis. See U.S. v. Frazier, 387 F.3d 1244, 1260 (11th Cir. 2004).

       That said, in the wake of Daubert, “the rejection of expert testimony is the

 exception rather than the rule.” Moore v. Intuitive Surgical, Inc., 995 F.3d 839, 850

 (11th Cir. 2021) (quoting Fed. R. Evid. 702 Advisory Committee’s Note (2000)).

 “[C]ourts must remain chary not to improperly use the admissibility criteria to

 supplant a plaintiff’s right to a jury trial.” Id. “Vigorous cross-examination,

 presentation of contrary evidence, and careful instruction on the burden of proof are

 the traditional and appropriate means of attacking shaky but admissible evidence.”

 Quiet Tech. DC-8, Inc. v. Hurel-Dubois UK Ltd., 326 F.3d 1333, 1341 (11th Cir.

 2003) (quoting Daubert, 509 U.S. at 596)). As this Court recently stated, “[i]t is not

 the role of the district court to make determinations as to the persuasiveness of the

 proposed evidence; rather, the inquiry focuses on the methodology the proposed

 expert used in reaching his [or her] conclusions.” Ballesteros v. Wal-Mart Stores

 East, LP, No. 2:19-cv-881-SPC-NPM, 2021 U.S. Dist. LEXIS 102939, at *5 (M.D.

 Fla. Jun. 1, 2021) (citing Quiet Tech., 326 F.3d at 1341)).

    B. The Court Should Deny Defendants’ Motion Because Decker’s
       Methodology Is Sound, As Confirmed By Defendants’ Own Proffered
       Expert.

       The Court should deny Defendants’ Motion because Decker’s opinions satisfy

 Daubert’s requirement that her methodology is reliable and is readily accepted in



                                            9
Case 6:17-cv-02206-CEM-GJK Document 321 Filed 08/20/21 Page 10 of 16 PageID 8809




  the Eleventh Circuit. In this Circuit, “[t]here are two generally recognized methods

  of proving lost profits: (1) the before and after theory and (2) the yardstick test.”

  Marshall Auto Painting & Collision, Inc. v. Westco Eng’g, Inc., No. 6:02-cv-109-

  Orl-22KRS, 2003 U.S. Dist. LEXIS 27553, at *21-22, n.46 (quoting G.M. Brod. &

  Co., Inc. v. U.S. Home Corp., 759 F.2d 1526, 1538 (11th Cir. 1985)). The “before

  and after” method—which Decker utilizes—compares the plaintiff’s earnings record

  before and after the alleged bad acts. Id. “There can be little dispute that these

  methods are generally accepted in the economic community.” B-K Cypress Log

  Homes Inc. v. Auto-Owners Ins. Co., No. 1:09-cv-211-GRJ, 2012 U.S. Dist. LEXIS

  73773, at *9 (N.D. Fla. May 25, 2012). Under this method, utilizing NuVasive’s

  historical sales data is appropriate in Decker’s methodology. Swierczynski v. Arnold

  Foods Co., 265 F. Supp. 2d 802, 811 (E.D. Mich. 2003) (when utilizing the before

  and after method “historical performance is a sufficiently reasonable basis for the

  computation of lost profits”); see also Bluesky Greenland Envtl. Solutions, LLC, v.

  21st Century Planet Fund, LLC, No. 12-81234-CIV-HURLEY, 2015 U.S. Dist.

  LEXIS 180847, at *3 (S.D. Fla. Feb. 2, 2015) (citing Ad-Vantage Tel. Directory

  Consultants, Inc. v. GTE Directories Corp., 943 F.2d 1511, 1518 (11th Cir. 1991)

  (lost profits may be recovered based on evidence that is indirect and based on

  estimates and assumptions, so long as the assumptions rest on adequate data)).




                                           10
Case 6:17-cv-02206-CEM-GJK Document 321 Filed 08/20/21 Page 11 of 16 PageID 8810




         Here, it is undisputed that Decker utilized the before and after methodology

  in calculating NuVasive’s lost profits. Under Eleventh Circuit precedent, this is an

  appropriate methodology, and, indeed, Dopp concedes that Decker conducted the

  methodology correctly. (Exhibit 4, 90:24–91:13). Further, Decker’s opinions are

  based upon sufficient facts and data, including NuVasive’s historical sales data,

  which is the sine qua non of a before and after lost profits analysis under Eleventh

  Circuit precedent. This data coupled with the other documentary evidence Decker

  considered—as detailed in her testimony, the Decker Report, and the Decker

  Supplement—confirms the reliability of her methodology.                     Because Decker’s

  before and after methodology is reliable, her opinions are admissible under Daubert,

  and the Motion should be denied.

         While Defendants attempt to frame their Motion in the context of Decker’s

  methodology—which is reliable—in actuality, they take issue with the assumptions

  Decker makes and the conclusions that she reaches.9 This is not an appropriate basis

  to exclude Decker’s testimony, as detailed above, is supported by a reliable

  methodology. See Fed. R. Evid. 702 Advisory Committee’s Note (2000) 10; see also



  9
    Defendants’ Freudian slips underscore this point since they criticize Decker’s “assumptions” no
  less than five times in their Motion. (See Defs.’ Mot., Doc. 309, pp. 6, 9-10).
  10
     “When facts are in dispute, experts sometimes reach different conclusions based on competing
  versions of the facts. The emphasis in the amendment on ‘sufficient facts or data’ is not intended
  to authorize a trial court to exclude an expert’s testimony on the grounds that the court believes
  one version of the facts and not the other.”

                                                 11
Case 6:17-cv-02206-CEM-GJK Document 321 Filed 08/20/21 Page 12 of 16 PageID 8811




  Furmanite Am., Inc. v. T.D. Williamson, Inc., 506 F. Supp. 2d 1126, 1131 (M.D. Fla.

  2007) (“[Movant’s] arguments that [witness’s] findings are speculative and lead to

  an unreliable estimate of worth are arguments as to the credibility of [witness’s]

  findings rather than the general acceptance of his methods.”). The facts of this

  matter—including those Decker considered and relied on—are hotly contested, but

  Defendants’ “[c]hallenges to the accuracy or source of facts underlying [Decker’s]

  opinion are challenges to its weight rather than its admissibility.” U.S. ex rel. S. Site

  & Underground, No. 3:14-cv-919-J-PDB, 2017 U.S. Dist. LEXIS 230696, at *14

  (M.D. Fla. Feb. 3, 2017) (denying motion to exclude) (compiling cases)11; Pace v.

  Nat’l Union Fire Ins. Co., No. 1:12-cv-3096-AT, 2014 U.S. Dist. LEXIS 141908, at

  *20-21 (N.D. Ga. Aug. 21, 2014). Defendants are more than welcome to challenge

  Decker’s assumptions upon cross-examination—against which NuVasive will

  certainly be prepared to defend—but those challenges are insufficient bases to

  exclude Decker’s testimony at this point. See Quiet Tech., 326 at 1341. Put simply,




  11
      See Adv. Bodycare Sols., LLC v. Thione Int’l, Inc., 615 F.3d 1352, 1363-64 (where expert
  calculated lost profits based on company’s revenue and cost data without verifying the accuracy
  of underlying data, arguments went to testimony’s weight rather than admissibility); Quiet Tech.,
  326 F.3d at 1345 (where party argued not that methodology was improper but that specific numbers
  expert used were wrong, alleged flaws “impugn[ed] the accuracy of his results, not the general
  scientific validity of his methods”; identification of such flaws is the role of cross
  examination); Primrose Op. Co. v. Nat’l Am. Ins. Co., 382 F.3d 546, 562 (5th Cir. 2004) (“[A]s a
  general rule, questions relating to the bases and sources of an expert’s opinion affect the weight to
  be assigned that opinion rather than its admissibility and should be left for the jury’s consideration.
  . . . It is the role of the adversarial system, not the court, to highlight weak evidence.”) (emphasis
  in original).

                                                   12
Case 6:17-cv-02206-CEM-GJK Document 321 Filed 08/20/21 Page 13 of 16 PageID 8812




  Decker utilized a reliable methodology. She applied that methodology correctly,

  and even Defendants’ proposed expert concedes this fact. Defendants’ challenges

  as to the facts and assumptions Decker considered in applying that methodology are

  properly tested in the crucible of cross-examination. They cannot serve as a basis to

  exclude her testimony. Because Decker’s opinions satisfy the reliability prong of

  the Court’s Daubert analysis, Defendants’ Motion should be denied.

     C. Decker’s Opinions Will Aid The Fact Finder In Determining The
        Damages NuVasive Incurred Due To The Contractual Breaches This
        Court Already Held Occurred.

        In the event that the trier of fact determines that NuVasive is entitled to

  damages due to Defendants’ wrongful actions, Decker’s testimony will certainly aid

  it in calculating those damages. “Expert testimony is helpful ‘if it offers something

  beyond the understanding and experience of the average citizen.” Ballesteros, 2021

  U.S. Dist. LEXIS 1029393, at *6 (quoting U.S. v. Frazier, 387 F.3d at 1262). This

  requirement goes to the relevance of the expert’s testimony, and it must “relate to

  an[] issue in the case.” Id. (citing Quiet Tech., 326 F.3d at 1347). The requirement

  is “aptly described . . . as one of ‘fit.’” Id. (quoting Quiet Tech., 326 F.3d at 1347)).

        Defendants’ argument that Decker’s opinions will not be helpful to the trier

  of fact defies reason. To start, the complex calculations of NuVasive’s lost profits,

  including the present discounted value thereof, is certainly outside the purview of an

  average citizen. The Court previously held that: (i) Absolute Medical breached its



                                             13
Case 6:17-cv-02206-CEM-GJK Document 321 Filed 08/20/21 Page 14 of 16 PageID 8813




  Sales Agreement with NuVasive; (ii) Absolute Medical Systems is a mere

  continuation of Absolute Medical (and therefore liable as its successor entity); and

  (iii) (if enforceable against them individually) Hawley and Miller breached their

  2016 Agreements, which resulted in damages to NuVasive. (Order, Doc. 290, pp.

  57-58). In light of these holdings, Decker’s testimony will certainly assist the trier

  of fact in calculating those damages if NuVasive is entitled to them. See FC Online

  Mktg. v. Champions Fund, Inc., No. 8:13-cv-01713-T-27TBM, 2014 U.S. Dist.

  LEXIS 196282, at *6 (M.D. Fla. Nov. 14, 2014) (permitting a damages expert to

  testify when he was “simply providing the fact finder with the tools to calculate

  appropriate damages if the fact finder determines” that the plaintiff is entitled to any

  damages). Decker’s testimony “fits” the issues to be decided at the trial of this

  matter. The trier of fact should be permitted to hear that testimony.

                                 IV.    CONCLUSION

        In sum, Decker’s opinions are admissible under Federal Rule of Evidence 702

 and Daubert because her methodology is reliable as conceded by Defendants’

 proposed rebuttal witness. Defendants are free to challenge Decker’s assumptions

 and the facts she considered and relied upon, but the proper arena to assert those

 challenges—including purported lack of data Defendants willfully failed to

 produce—is on cross-examination. Further, in the event the fact finder determines

 NuVasive is entitled to damages, Decker’s testimony will assist it in calculating those



                                            14
Case 6:17-cv-02206-CEM-GJK Document 321 Filed 08/20/21 Page 15 of 16 PageID 8814




 damages. Finally, if necessary, the Court can voir dire Decker at the November 29,

 2021, trial of this matter to resolve any remaining issues as to the admissibility of her

 testimony.

  Dated: August 20, 2021           Respectfully submitted,



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                                            15
Case 6:17-cv-02206-CEM-GJK Document 321 Filed 08/20/21 Page 16 of 16 PageID 8815




                             CERTIFICATE OF SERVICE

          I hereby certify that on August 20, 2021, a copy of the foregoing was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic
  filing system to all parties indicated on the electronic filing receipt. All other parties
  will be served by regular U.S. Mail. Parties may access this filing through the Court’s
  electronic filing system. The party or parties served are as follows:

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                                             16
